Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 1 of 8 PageID #: 16544



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------X
  UNITED STATES OF AMERICA,                                           MEMORANDUM
                                        Plaintiff,                    AND ORDER
                     - against -
  BARCLAYS CAPITAL, INC., et al.                                      16-CV-7057 (KAM) (JO)
                                        Defendants.
  ----------------------------------------------------------------X

  James Orenstein, Magistrate Judge:

           For the third time, I address the parties' joint request to have me approve a stipulated

  protective order that would ease their litigation burdens but deprive non-parties, who have not had

  an opportunity to be heard, of rights that they would otherwise have. As briefly explained below, for

  the third and final time I deny the request.

  I.       Background

           I assume the reader's familiarity with the record. In short, the parties first submitted their

  proposed protective order on June 7, 2017. Docket Entry ("DE") 55. I declined to approve it for

  two reasons: first, its terms relieved the parties of their obligations under the laws of several

  jurisdictions to notify non-party borrowers of the disclosure of information about them; second, it

  conferred on the parties overbroad protections against the disclosure of otherwise privileged

  information that could be avoided through due diligence. See DE 61 (minute order dated June 12,

  2017); DE 62 (transcript).

           On July 11, 2017, the parties submitted a revised proposal that partially addressed the latter

  concern about the privilege provisions and that asked me to reconsider my initial decision about the

  disclosure provisions. See DE 70 (letter); DE 70-1 (proposed order); DE 70-2 (redline comparison

  showing changes) at 22-24. In a Memorandum and Order dated October 18, 2017, DE 101 (the

  "Order"), I denied the request to reconsider the decision about the disclosure provisions, explained
Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 2 of 8 PageID #: 16545



  why the revisions concerning the waiver of privilege did not suffice to alleviate my concerns, and

  directed the parties to submit a revised protective order that conformed to those rulings.

          Instead of complying with that Order, the parties again moved for reconsideration. See DE

  102 ("Motion"). Because their earlier request for reconsideration was not styled as that kind of

  motion for understandable reasons (when I initially expressed my concerns about the proposal, I

  invited further input from the parties), I will not reject the instant motion as a procedurally improper

  successive motion for reconsideration, notwithstanding the reality that the parties simply seem

  unwilling to accept a ruling I have already carefully considered twice. Instead, I will consider the

  merits of the parties' proposals for the third time, as well as their contention that I overlooked

  certain matters in my earlier rulings.

  II.     Discussion

          A.      Reconsideration

          The law of this jurisdiction disfavors motions for reconsideration, and requires that they be

  denied absent a showing that the court overlooked controlling decisions or facts. If instead of

  making such a showing, the movant simply rehashes earlier arguments or tries to rely on new facts

  not previously presented, the motion must be denied. See, e.g., DirecTV, LLC v. Borbon, 2015 WL

  7281636, at *1 (E.D.N.Y. Nov. 16, 2015) (quoting Analytical Surveys, Inc. v. Tonga Partners, L.P., 684

  F.3d 36, 52 (2d Cir. 2012); Mikol v. Barnhart, 554 F. Supp. 2d 498, 500 (S.D.N.Y. 2008) (citing Shrader

  v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995))). Reconsideration is not available where a party

  "is attempting belatedly to plug the gaps of its prior motion." Id. at *2.

          B.      Notice to Borrowers

          The parties assert that with respect to borrower notification, I "overlooked the significant

  burden on the parties and especially on non-parties that requiring borrower notification would

  engender, as well as the limited extent to which the financial privacy interests of individual


                                                      2
Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 3 of 8 PageID #: 16546



  borrowers would actually be impinged by eliminating such requirements." Motion at 1. That is

  untrue. See DE 70 (letter dated July 11, 2017, describing the burdens associated with notification and

  the extent to which borrowers' privacy interests would be impinged by eliminating applicable

  notification requirements); DE 70-3 (attachment to July 11 letter detailing the financial privacy

  statutes of various jurisdictions); Order at 3 (explicitly addressing the asserted burdens). To the

  extent that the parties now rely on letters from non-party subpoena recipients attesting to the

  burdens attendant to complying with their disclosure obligations, their reliance is misplaced for two

  reasons. First, I did not overlook the letters, which were not presented to me. Second, the letters do

  no more than amplify the concern about burdensomeness that I had already taken into account.

  Compare DE 77-1 (objections to subpoena from non-party WMC Mortgage, LLC ("WMC"),

  including objection to the burden of compliance, appended to letter in support of the parties' first

  request for reconsideration) with DE 102-7 (letter from WMC further describing such burdens,

  appended to letter in support of the parties' second request for reconsideration); Order at 3.

          The parties further assert that I "incorrectly assumed that because the Defendants undertook

  a general survey of the financial privacy laws of 56 States and territories … the work of determining

  whether any notification provisions would apply to a particular loan or borrower is straightforward,

  and in fact has already largely been completed." Motion at 1-2. The parties go on to contrast that

  characterization of my Order with the following purported refutation of it: "To the contrary, under

  the Court's [Order 1], any party or non-party producing borrower information would have to make

  an individualized determination as to which jurisdictions' laws apply to that borrower and as to what

  if any notification such laws would require." Id. at 2. In so writing, the parties implicitly assume that

  I did not contemplate the likelihood that, having determined the array of potentially applicable state


  1
   The parties inexplicably describe the Order they ask me to reconsider as a "proposed version" of a
  protective order. Id. at 2. That Order, like this one, is not a proposal, and the parties were not invited
  to treat it as merely a bargaining position. Rather, the parties sought and received a ruling.
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Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 4 of 8 PageID #: 16547



  and federal statutes, those tasked with disclosing borrower information would then have to

  determine which of those laws applied to each particular disclosure. Here again, the parties'

  contention is simply untrue: I explicitly took that additional step into account and noted that the

  parties had provided no information about the burden associated with it. See Order at 3 ("The

  parties … have provided no information about the burden they would shoulder in determining the

  jurisdiction whose laws would apply to a given borrower's information.").

          The fact that the parties have now made an argument about that burden does not suffice to

  warrant reconsideration for two reasons. First, in order to promote judicial economy by "ensur[ing]

  the finality of decisions," reconsideration is not available to allow parties to "plug the gaps" of an

  earlier insufficient motion. DirecTV, LLC v. Borbon, 2015 WL 7281636, at *2 (quoting Polsby v. St.

  Martin's Press, Inc., 2000 WL 98057, at *1 (S.D.N.Y. Jan 18, 2000)). Second, while the parties now

  make the conclusory assertion that such individual review would be burdensome, they simply

  instruct me that the magnitude of the burden is "manifest[,]" Motion at 2, rather than providing any

  specific information. Moreover, the parties' arguments rests to an important degree on speculation:

          Given that many of the laws in question impose financial liability on institutions that
          inappropriately disclose borrower information, there is no basis to assume that these
          non-parties would rely on the Defendants' general survey of State law, rather than
          retaining their own counsel to conduct individualized research that takes into
          account the facts of each specific loan.

  Id.

          It may well prove to be true that some subpoena recipients will undertake individual file

  reviews to ensure that they comply with multiple state laws, rather than finding some more efficient

  way to determine which laws apply to which borrowers; it may also prove to be true that such

  burdens will unduly outweigh the benefits of notification in some cases. Should that prove to be the

  case, individual subpoena recipients are of course free to seek targeted relief pursuant to Federal

  Rule of Civil Procedure 26(c). And should any subpoena recipient unduly delay compliance with its


                                                      4
Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 5 of 8 PageID #: 16548



  lawful disclosure duties, the party issuing the subpoena is of course free to make a motion to

  compel. What is not appropriate, however, is to impose burdens on non-party borrowers, who have

  not had an opportunity to be heard on the matter, by depriving them of their right to notifications

  that the laws of their jurisdictions have given them simply to relieve the parties and the subpoena

  recipients of the obligation to discharge litigation duties they would rather avoid.

          C.       Privilege

          In seeking reconsideration of my prior ruling as to privilege waivers, the parties write that I

  "overlooked [my] authority … to endorse 'any agreements the parties reach for asserting claims of

  privilege or of protection as trial-preparation material after information is produced, including

  agreements reached under Federal Rule of Evidence 502.'" Motion at 3 (quoting Fed. R. Civ. P.

  16(b)(3)(B)(iv)). It is certainly true that I did not explicitly discuss that authority in my ruling, nor

  indeed did I give the cited rule any thought. The parties likewise were wholly silent on the existence

  or applicability of that rule until they cited it for the first time in the instant request for

  reconsideration. That alone is a reason to disregard the argument now.

          But even disregarding the parties' procedural lapse, I would not reconsider my earlier ruling

  based on the misguided notion that Rule 16 gives me authority that Rule 502 does not to curtail the

  rights of non-parties with respect to the parties' privilege waivers. The parties' argument suffers from

  multiple flaws. First, the cited provision of Rule 16 empowers the court to issue a scheduling order

  that addresses certain matters, but by its terms it does not independently authorize a court to enter

  an order – as Rule 502 does – that restricts the rights a non-party would otherwise have to assert

  that the handling of privileged information in this litigation effected a waiver of that privilege.

          Second, the parties' argument ignores the history of Rule 16. Prior to December 1, 2006, the

  rule was silent with respect to privilege waivers. See Fed. R. Civ. P. 16 (as amended Apr. 22, 1993,

  eff. Dec. 1, 1993). The 2006 amendment added a new provision that a scheduling order could


                                                        5
Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 6 of 8 PageID #: 16549



  include "any agreements the parties reach for asserting claims of privilege or of protection as trial-

  preparation material after production[.]" Fed. R. Civ. P 16(b)(6) (as amended Apr. 12, 2006, eff. Dec.

  1, 2006). In explaining that amendment, the Advisory Committee on Civil Rules wrote as follows:

          Rule 16(b) is also amended to include among the topics that may be addressed in the
          scheduling order any agreements that the parties reach to facilitate discovery by
          minimizing the risk of waiver of privilege or work-product protection. Rule 26(f) is
          amended to add to the discovery plan the parties' proposal for the court to enter a
          case-management or other order adopting such an agreement. The parties may agree
          to various arrangements. For example, they may agree to initial provision of
          requested materials without waiver of privilege or protection to enable the party
          seeking production to designate the materials desired or protection for actual
          production, with the privilege review of only those materials to follow. Alternatively,
          they may agree that if privileged or protected information is inadvertently produced,
          the producing party may by timely notice assert the privilege or protection and
          obtain return of the materials without waiver. Other arrangements are possible. In
          most circumstances, a party who receives information under such an arrangement
          cannot assert that production of the information waived a claim of privilege or of
          protection as trial-preparation material.

  Fed. R. Civ. P. 16, advisory committee's note.

          Thus, as amended in 2006 – when Rule 502 did not yet exist– the topics that a court could

  address at the outset of litigation expressly included private agreements among the parties to define

  their respective rights concerning assertions of privilege. But that codification of powers that courts

  had always had did nothing to fix a different problem of growing significance to litigants in the age

  of digital discovery: the fact that such private agreements among the parties to one case did nothing

  to limit their exposure to the claims of non-parties outside the confines of the litigation. And it was

  precisely to address the latter problem that Congress mandated the promulgation of Rule 502 in

  2008. See Pub. L. 110-322, 122 Stat. 3537 (2008); Fed. R. Evid. 502, advisory committee's note

  (noting that one of the new rule's two "major purposes" is to control increasing litigation costs due

  to the electronic storage of records and the limited "utility of a confidentiality order in reducing

  discovery costs … if it provides no protection outside the particular litigation in which the order is

  entered"). Rule 502 alleviated that problem by providing for protective orders that are effective in all


                                                      6
Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 7 of 8 PageID #: 16550



  proceedings, not just as among the parties in a particular case – and once that rule was in place, the

  provision of Rule 16 addressing agreements concerning privilege waivers was of course amended to

  reflect that development. But what the latter amendment did not do was expand the scope of Rule

  502 to reach types of privileges the evidentiary rule did not address. See Fed. R. Civ. P. 16, advisory

  committee's note (describing 2015 amendment to Rule 16(b)(3)(B): "The order also may include

  agreements incorporated in a court order under Evidence Rule 502 controlling the effects of

  disclosure of information covered by attorney-client privilege or work-product protection, a topic also added

  to the provisions of a discovery plan under Rule 26(f)(3)(D).") (emphasis added).

          Thus, to the extent the parties contend that I failed to appreciate that Rule 16 empowers me

  to tell non-parties that they cannot assert a waiver of privileges other than those addressed in Rule

  502, they simply misread both the rule's text and its history. The parties understandably said nothing

  about Rule 16 the first two times they asked me to approve an overbroad protective order – because

  that rule does nothing to support their request. By making the argument for the first time on a

  motion for reconsideration, the parties compound a substantive mistake with a procedural one.

          To the extent that the parties ask me to reconsider my Order with respect to the burden it

  imposes on non-parties, see Motion at 3, the request is procedurally improper because it raises a new

  argument for the first time. Moreover, the relief they seek seems entirely unwarranted. The parties

  would have me order as follows:

          Any disclosure in this Action by any Non-Party of any Document or Discovery
          Material that constitutes, contains, or reflects Privileged Material shall be regarded as
          inadvertent, and the Producing Non-Party shall be deemed to have taken reasonable
          steps to prevent disclosure, regardless of the standard of care or the specific steps
          taken to prevent disclosure and regardless of any argument or circumstances
          suggesting otherwise.

  DE 102-1, ¶ 58 (proposed order).

          That language, if adopted, would require everyone – not just the parties who have agreed

  among themselves, but also non-parties who have not had an opportunity to be heard – to treat

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Case 1:16-cv-07057-KAM-JO Document 103 Filed 11/02/17 Page 8 of 8 PageID #: 16551



  even an intentional disclosure of privileged information by a non-party subpoena recipient as an

  inadvertent lapse made after reasonable efforts to guard against such disclosures. The interest in

  efficient discovery procedures does not justify such pretense. Rule 502 strikes an appropriate – and

  congressionally enacted – balance between competing interests. It promotes speedy and efficient

  discovery procedures by allowing an orderly privilege review to occur after disclosures have been

  made; it does not relieve parties altogether of the duty to take reasonable steps to safeguard the

  information as to which they wish to continue to assert a valid privilege.

          I am wholly in favor of adopting procedures that promote the efficient litigation of this case,

  and I appreciate that even the most efficient measures may be quite burdensome. To the extent

  those burdens may be unduly heavy when imposed on non-party subpoena recipients, such entities

  are of course free to seek targeted relief, such as a restriction on the scope of documents they must

  produce (which would in turn diminish the burden of reviewing responsive documents). See Fed. R.

  Civ. P. 26(c). But that interest in efficiency does not mean that I can or should shift the burdens or

  risks of this litigation to non-parties who may have a legitimate interests that would be hampered by

  the relief the parties seek here and who have not had the opportunity to oppose them. I therefore

  deny the request for reconsideration of my earlier ruling with respect to privilege waivers.

  III.    Conclusion

          For the reasons set forth above, I deny the motion for reconsideration. I respectfully direct

  the parties to submit a revised protective order consistent with this ruling, and with my ruling of

  October 18, 2017, no later than November 10, 2017.

          SO ORDERED.

  Dated: Brooklyn, New York
         November 2, 2017
                                                                         /s/          _
                                                                  James Orenstein
                                                                  U.S. Magistrate Judge


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